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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) / de
yw 0 4
v. ) CASE NO.
) Title 18, Sections 2251 (a),
THOMAS J. CLOSE, ) 2252(a)(2), 2252(a)(5)(B),
) United States Code
Defendant. )
sr re ‘i “
JUDGE POLS Yeu? FER
COUNT 1
(Sexual Exploitation of Children, in violation of 18 U.S.C. § 2251(a))
The Grand Jury charges:
1. From on or about January 1, 2011 through on or about December 31, 2011, in the

Northern District of Ohio, Eastern Division, Defendant, THOMAS J. CLOSE, did and did
attempt to use, persuade, induce, entice and coerce a minor (to wit: Minor Victim #1, whose
identity is known to the Grand Jury) to engage in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256(2), for the purpose of producing a visual depiction of such
conduct and such visual depiction was produced or transmitted using materials that had been
mailed, shipped, and transported in or affecting interstate or foreign commerce by any means,

including by computer, in violation of Title 18, United States Code, Section 2251(a).
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COUNT 2
(Sexual Exploitation of Children, in violation of 18 U.S.C. § 2251(a))

The Grand Jury further charges:

2. From on or about January 1, 2012 through on or about December 31, 2012 , in the
Northern District of Ohio, Eastern Division, Defendant, THOMAS J. CLOSE, did and did
attempt to use, persuade, induce, entice and coerce a minor (to wit: Minor Victim #2, whose
identity is known to the Grand Jury) to engage in sexually explicit conduct, as defined in Title
18, United States Code, Section 2256(2), for the purpose of producing a visual depiction of such
conduct and such visual depiction was produced or transmitted using materials that had been
mailed, shipped, and transported in or affecting interstate or foreign commerce by any means,

including by computer, in violation of Title 18, United States Code, Section 2251(a).

COUNT 3
(Receipt and Distribution of Visual Depictions of Minors Engaged in Sexually Explicit Conduct,
in violation of 18 U.S.C. § 2252(a)(2))

The Grand Jury further charges:

3. From on or about January 1, 2011 through on or about May 3, 2018, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant, THOMAS J. CLOSE,
did knowingly receive and distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors
engaged in sexually explicit conduct, and which files had been shipped and transported in and

affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section

2256(2), in violation of Title 18, United States Code, Section 2252(a)(2).
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COUNT 4
(Possession of Child Pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B))

The Grand Jury further charges:

4. On or about November 1, 2018, in the Northern District of Ohio, Eastern
Division, Defendant, THOMAS J. CLOSE, did knowingly possess a home built PC Tower
computer that contained child pornography as defined in Title 18, United States Code, Section
2256(8), which child pornography had been shipped and transported in interstate and foreign
commerce by any means, including by computer, and which was produced using materials which
had been shipped and transported in interstate and foreign commerce by any means, including by
computer, and at least one image involved in the offense involved a prepubescent minor or a
minor who had not attained 12 years of age, in violation of Title 18, United States Code, Section

2252A(a)(5)(B).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

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